       Case 3:16-cr-00175-K Document 86 Filed 02/28/18 Page 1 of 1              PageID 189
                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA                       §
                                               §
v.                                             §   CASE NO.: 3:16-CR-00175-K
                                               §
RICHARD MARIO RODRIGUES (03)                   §

         ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
       UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

      After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea
of Guilty, the Consent of the defendant, and the Report and Recommendation Concerning Plea of
Guilty of the United States Magistrate Judge, objections thereto having been filed within fourteen
days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge is of the
opinion that the Report and Recommendation of the Magistrate Judge concerning the Plea of
Guilty is correct, and it is hereby accepted in part by the Court. Accordingly, the Court accepts
the plea of guilty, and RICHARD MARIO RODRIGUES (3) is hereby adjudged guilty of
Conspiracy to Possess With the Intent to Distribute Methamphetamine, in violation of 21 USC §
846[21 USC § 841(a)(1) and (b)(1)(C). Sentence will be imposed in accordance with the Court's
scheduling order.

☒     The Court sustains the Defendant’s Objections to the Report and Recommendation
      Concerning Plea of Guilty, filed on February 21, 2018 and February 22, 2018. The Court
      finds that it has been clearly shown that there are exceptional circumstances under §
      3145(c) why the defendant should not be detained under § 3143(a)(2). The Government
      does not oppose Defendant Rodrigues to remain on bond pending sentencing, and
      Defendant Rodrigues has been compliant with his terms of release.

      Therefore, the Court finds by clear and convincing evidence that the defendant is not likely
      to flee or pose a danger to any other person or the community if released and should
      therefore be released under § 3142(b) or (c).


      SO ORDERED.

      SIGNED February 28th, 2018.

                                                     ________________________________________
                                                     ED KINKEADE
                                                     UNITED STATES DISTRICT JUDGE
